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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SEA PIONEER LTD; Civil Action:
IN ADMIRALTY
Plaintiff,
-and-

GRANELES SWITZERLAND S.A;

Defendant.

(PROPOSED) ORDER DIRECTING CLERK TO ISSUE PROCESS OF MARITIME
ATTACHMENT AND GARNISHMENT

On April 29, 2024, Plaintiff, SEA PIONEER LTD, filed a Verified Complaint in the
captioned action seeking damages of $1,960,328.02 against GRANELES SWITZERLAND S.A.
(the “Defendant”) inclusive of interest, costs, and reasonable attorneys’ fees, and seeking issuance
of Process of Maritime Attachment and Garnishment pursuant to Rule B of the Supplemental
Admiralty Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil

Procedure.

The Court has reviewed the Verified Complaint and the Supporting Affidavit of Thomas
H. Belknap, Jr. dated April 29, 2024 and finds that the conditions of Supplemental Admiralty Rule

B appear to exist.

The Belknap Declaration has demonstrated to the Court’s satisfaction that the Defendant
may not be found within the District but that it has or may have property within this judicial district

within the meaning of Rule B.

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ACCORDINGLY, IT IS HEREBY

ORDERED, that Process of Maritime Attachment and Garnishment shall issue against all
tangible or intangible property belonging to or being held for Defendant by Israel Discount Bank
of New York, upon whom a copy of the Process of Maritime Attachment and Garnishment may
be served, in an amount of up to $1,960,328.02, pursuant to Rule B of the Supplemental
Admiralty Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil
Procedure; and, it is further,

ORDERED, that any person claiming an interest in any property attached or garnished
pursuant to this Order shall, upon application to the Court, be entitled to a prompt hearing at which
the Plaintiff shall be required to show why the attachment and garnishment should not be vacated;
and it further,

ORDERED, that any person at least 18 years of age and not a party to this action,
employed with or appointed by Blank Rome LLP be and hereby is appointed to serve this Order
and Process of Maritime Attachment and Garnishment on Israel Discount Bank of New York and
on such additional garnishees as permitted herein; and it is further,

ORDERED, that a copy of this Order and the Verified Complaint be attached to and served
with the Process of Maritime Attachment and Garnishment upon the garnishee; and it is further,

ORDERED, that the gamishee served with this Order, upon determining that it is in
possession of any property which may be subject to this Order, shall, as soon thereafter as is
practicable, advise the Plaintiff of such details about the attachment as are reasonably available to

it; and it is further,

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ORDERED, that in the event Plaintiff restrains any assets pursuant to the Attachment

Order, within five (5) days of this having occurred Plaintiff shall inform the Court in writing what
it has restrained.
Dated: New York, NY

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SO ORDERED:

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